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                   IN THE UNITED STATES DISTRICT COURT FOR THE

                                   DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                        Plaintiff,  )                         8:06CR207
                                    )
            v.                      )
                                    )
AARON MIRANDA-QUIROZ,               )                     FINAL ORDER OF
                                    )                     FORFEITURE
                        Defendant.  )
____________________________________)


               This matter is before the Court upon the United States’ Motion for Final Order of

Forfeiture and Memorandum Brief (Filing No. 90). The Court has reviewed the record in this

case and finds as follows:

               1. On September 19, 2006, the Court entered a Preliminary Order of Forfeiture

pursuant to the provisions of Title 21, United States Code, Section 846, Title 18, United States

Code, Section 924(d) and Title 28, United States Code, Section 2461(c), based upon the

defendant's plea of guilty to Counts I, VII, X, XI, XII and XIII of the Indictment filed herein. By

way of said Preliminary Order of Forfeiture, the defendant’s interest in a 9mm Hi Point, Model

C9 Luger, serial number P113411, a FEG 9mm semi-automatic handgun Model P9RZ, serial

number RZ00337, a Mossberg Model 835, 12 gauge shotgun, serial number UM473323, and a

Mossberg 12 gauge shotgun Model 88, serial number NV20307L, were forfeited to the United

States.

               2. On November 16, 23 and 30, 2006, the United States published in a newspaper

of general circulation notice of this forfeiture and of the intent of the United States Bureau of

Alcohol, Tobacco and Firearms to dispose of the properties in accordance with the law, and
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further notifying all third parties of their right to petition the Court within the stated period of

time for a hearing to adjudicate the validity of their alleged legal interest(s) in said properties.

An Affidavit of Publication was filed herein on December 29, 2006 (Filing No. 89).

                3. The Court has been advised by the United States no Petitions have been filed.

From a review of the Court file, the Court finds no Petitions have been filed.

                4. Plaintiff’s Motion for Final Order of Forfeiture should be sustained.

                IT IS ORDERED:

                A. Plaintiff’s Motion for Final Order of Forfeiture is hereby sustained.

                B. All right, title and interest in and to the subject properties, i.e., a 9mm Hi

Point, Model C9 Luger, serial number P113411, a FEG 9mm semi-automatic handgun Model

P9RZ, serial number RZ00337, a Mossberg Model 835, 12 gauge shotgun, serial number

UM473323, and a Mossberg 12 gauge shotgun Model 88, serial number NV20307L, held by any

person or entity, are hereby forever barred and foreclosed.

                C. The subject properties, i.e., a 9mm Hi Point, Model C9 Luger, serial number

P113411, a FEG 9mm semi-automatic handgun Model P9RZ, serial number RZ00337, a

Mossberg Model 835, 12 gauge shotgun, serial number UM473323, and a Mossberg 12 gauge

shotgun Model 88, serial number NV20307L, be, and the same hereby are, forfeited to the United

States of America .




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               D. The United States Bureau of Alcohol, Tobacco and Firearms for the District of

Nebraska is directed to dispose of said properties in accordance with law.

               DATED this 5th day of January, 2007.

                                             BY THE COURT:

                                             /s/ Lyle E. Strom
                                             ______________________________
                                             LYLE E. STROM, SENIOR JUDGE
                                             United States District Court




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